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                 EXHIBIT D
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                                   www.rochefreedman.com




                                  FIRM RESUMÉ




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ABOUT THE FIRM
Founded in 2020, Roche Freedman LLP is a national law firm comprised of innovative and tech-
savvy attorneys with stellar credentials. With experience from some of the most prestigious
litigation firms in the country, RF’s legal team has a successful and decades-long track record of
consistently achieving outstanding results in high-stakes and notable disputes on behalf of
sophisticated clients. RF’s legal team has extensive experience litigating complex commercial,
securities, antitrust, class action and derivative matters on behalf of both plaintiffs and defendants
in a broad range of industries. RF couples a unique brand of creative thinking and technical
expertise with well-balanced aggressive advocacy to achieve impressive results in complex, high-
value, and class action matters. As the firm continues to grow, it has focused on building a diverse
attorney pool with cross-functional expertise.


PUBLIC SERVICE
RF attorneys have served in a range of government roles, including as Assistant United States
Attorney for the Eastern District of New York, trial attorney in the U.S. Department of Justice’s
Federal Programs Branch, member of the Southern District of Florida’s Local Rules Committee,
and member of the Federal Magistrate Judge Merit Selection Panel for the Southern District of
Florida. The firm’s attorneys have served as judicial clerks for judges on the United States Supreme
Court; Courts of Appeals for the Second, Fourth, and Ninth Circuits; and District Courts in the
Southern District of Florida, Eastern District of Louisiana, Southern District of New York, and
Eastern District of Pennsylvania. RF’s attorneys employ the same passion, dedication, and
proficiency when litigating on behalf of their clients.


CLASS ACTION EXPERTISE
RF’s legal team has broad experience representing plaintiffs and defendants in complex class
actions in federal courts nationwide. The experience spans securities, commodities, antitrust,
commodities, fraud-based, and consumer-protection claims across an assortment of industries.

RFs attorneys have clerked for federal judges nationwide and have represented plaintiffs and
defendants in an array of class actions across sectors. Drawing on that experience, RF’s attorneys
offer a strategic insight into every procedural and substantive nuance of complex class actions.
Whether a plaintiffs’ class or a Fortune 500 Company, RF’s clients receive the highest caliber of
legal representation in complex litigation. Currently, RF is counsel or co-counsel in 15 class
actions at varying procedural stages in federal courts nationwide.




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SECURITIES EXPERTISE
RF’s legal team has the experience and sophistication to navigate securities litigation of any size,
scope, or level of complexity. RF attorneys have represented publicly-traded international
corporations defending against securities class actions. RF attorneys have also prosecuted
securities class actions on behalf of sophisticated investors. Through those multifaceted roles, RF’s
legal team has amassed the expertise to navigate every challenge posed by complex securities
litigation under the Securities Act of 1933 and Securities Exchange Act of 1934. Whether
representing plaintiffs or defendants, RF’s legal team appreciates and strategically utilizes the
procedural and substantive arguments that will make or break viable causes of actions under the
securities laws.

RF was appointed as lead counsel in the securities fraud class actions, D’Arcy v. Sequential Brands
Grp., Inc. (C.D. Cal.), Garcia v. J2 Glob., Inc. et al. (C.D. Cal.), In re Sona Nanotech, Inc. Sec.
Litig. (C.D. Cal.), In re Renewable Energy Grp. Sec. Litig. (S.D.N.Y.), In re Qutoutiao Inc. Sec.
Litig. (S.D.N.Y.), Carl D. Cachia v. Bellus Health Inc. et al. (S.D.N.Y.), In re Qiwi Plc Sec. Litig.
(E.D.N.Y.), Chapman v. Fennec Pharma Inc. et al. (M.D.N.C.), Lowry v. RTI Surgical Holdings,
Inc. et al. (N.D. Ill.), and Hartel v. Geo Grp., Inc. et al. (S.D. Fla.).


CRYPTOCURRENCY EXPERTISE
Founding Partner Kyle W. Roche is a recognized thought leader in the cryptocurrency arena and
has published multiple articles on the intersection of cryptocurrency and law. He is a frequent
speaker and lecturer on the topic, having guest-lectured a course at the Northwestern Pritzker
School of Law. Mr. Roche and Founding Partner and Co-Chair Devin “Velvel” Freedman, who
has also spoken and lectured on the intersection of law and cryptocurrency, are currently
representing the estate of Dave Kleiman in a suit against Kleiman’s former business partner Craig
Wright, the self-proclaimed inventor of the cryptocurrency Bitcoin. They and other attorneys at
RF bring to bear a unique level of expertise and experience with cryptocurrency issues, which is
especially important given the lack of firm legal precedent in the field.

The firm’s attorneys are currently litigating numerous cryptocurrency cases against multi-national
defendants. RF has been appointed as lead counsel in the seminal cryptocurrency class actions,
Leibowitz et al. v. iFinex Inc. et al. (S.D.N.Y.), Clifford et al. v. Tron Foundation et al. (S.D.N.Y.),
Lee et al. v. Binance et al. (S.D.N.Y.), and Williams v. KuCoin et al (S.D.N.Y.).




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REPRESENTATIVE ENGAGEMENTS
   Co-counsel representing named plaintiffs in putative class actions seeking
    billions of dollars in damages from multiple issuers of cryptocurrencies and
    cryptocurrency exchanges, alleging claims under federal and state securities
    laws.

   Appointed co-interim class counsel in putative class action seeking over one
    trillion dollars in damages from foreign and domestic defendants accused of
    manipulating cryptocurrency markets in violation of federal and state laws.

   Representing plaintiff in multibillion-dollar complex litigation alleging
    misappropriation, conversion, and fraud against self-proclaimed inventor of
    Bitcoin.

   Representing plaintiff in billion-dollar litigation alleging civil and
    constitutional rights violations by government officials.

   Representing plaintiff in multimillion-dollar antitrust litigation accusing
    national corporations of Sherman Act violations.

   Defending publicly-traded international corporation accused of securities
    fraud in multimillion-dollar putative class action under the Securities
    Exchange Act of 1934.

   Defending publicly-traded corporation in multimillion-dollar breach of
    contract litigation arising from complex securities share exchange agreement.

   Defending corporations in multimillion-dollar fraud and RICO litigation by
    nationalized bank of Ukraine.




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                                   OUR TEAM




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 JOSEPH DELICH
 Partner

Joe has advised clients on matters that range from commercial contract disputes and securities
litigation to internal investigations, regulatory and criminal defense, and compliance with anti-
money laundering and sanctions laws.

Joe has extensive experience handling complex matters that require innovative solutions and is
always exploring how to integrate new technologies into his practice in order to achieve better
outcomes for his clients. An expert on North Korean financing networks and front companies,
he has a talent for leveraging open source research and graph databases to uncover hidden or
overlooked information, then deploying it for a strategic advantage without ever losing the forest
in the trees.

Joe maintains an active pro bono practice. He received the Legal Aid Society’s Pro Bono Publico
award in 2018 for his work responding to proposed changes in “public charge rule,” worked
extensively on the District of Maryland and Fourth Circuit Travel Ban litigation, and often
represents children in removal proceedings that are seeking Special Immigrant Juvenile Status.

Joe was previously an attorney at Paul, Weiss, Rifkind, Wharton & Garrison.

RECENT EXPERIENCE

   •   Appointed interim lead counsel in class action bringing CEA, antitrust, and RICO claims
       based on manipulation of the cryptocurrency market that resulted in one of the single
       largest asset bubbles in history.
   •   Advised several financial institutions on BSA, AML, and sanctions compliance with an
       emphasis on identifying North Korean financing networks. He has assisted with
       supervisory exam responses, remediation efforts, and responding to state and federal
       regulatory inquiries.
   •   Lead drafter of amicus brief to Supreme Court in Trump v. Hawaii on behalf of named
       plaintiffs in related challenge.
   •   Represented venture capital fund advisor in connection with SEC subpoenas and
       successfully negotiated resolution making presentation to Enforcement Staff.
   •   Successfully represented individual plaintiff in complex federal securities litigation over
       multi-state affinity fraud.
   •   Represented public company in federal securities class action and mediation resulting in
       court-approved settlement.
   •   Conducted internal investigation on behalf of financial institution in connection with
       ongoing consent order.
   •   Conducted internal investigation on behalf of professional sports team in connection with
       a public controversy.
   •   Represented REIT management company in New York state court contract dispute.
   •   Obtained Special Immigrant Juvenile Status for two Salvadoran children in removal
       proceedings.


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EDUCATION

  •   Northwestern University School of Law, J.D. magna cum laude; Order of the Coif;
      Northwestern University Law Review - Associate Editor; Senior Research Honors;
      Clinical Legal Education Association Award for Outstanding Clinical Student
  •   University of Nebraska - Lincoln, B.A., English, Minor in Mathematics

CLERKSHIPS

  •   Hon. Leslie H. Southwick, U.S. Court of Appeals, Fifth Circuit

PUBLICATIONS & PRESENTATIONS

  •   Ensuring Insurance: Adequate and Appropriate Coverage for Brady Claims in Illinois,
      110 Northwestern University Law Review 223

ADMISSIONS

  •   New York

AWARDS & ASSOCIATIONS

  •   New York City Bar
  •   2018 Legal Aid Society Pro Bono Publico Award




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 KATHERINE ESKOVITZ
 Partner

A founding partner at Roche Freedman, Katherine Eskovitz is an accomplished trial and
appellate lawyer who has spent over two decades successfully trying civil and criminal cases to
judges, juries, and arbitrators across the country, as well as arguing before federal appellate
courts. Katherine excels at synthesizing complex information for courts and juries, and her
relatable manner, which derives in part from her experience as a mother of three, is key to her
nationally-recognized success in the courtroom.

Before founding the firm, Katherine was a litigation partner at Boies Schiller Flexner and an
Assistant United States Attorney for the Eastern District of New York. She has
handled significant antitrust, white collar criminal defense, intellectual property, contract,
securities, copyright, computer crimes, and First Amendment matters. She has a broad practice
that has included the representation of plaintiffs and defendants in, among other industries,
media and entertainment, finance, insurance, agriculture, gaming, manufacturing, publishing, and
real estate.

Before becoming a federal prosecutor, Katherine served as a trial attorney in the U.S.
Department of Justice’s Federal Programs Branch. There, she handled constitutional challenges
to federal laws, including trial and appellate work across the country. In particular, Katherine
defended the United States in a lawsuit seeking compensation under the Fifth Amendment
Takings Clause for President Nixon’s White House tapes, photographs, and documents. For her
government work, she received Letters of Commendation from the Attorney General and
Associate Attorney General. Her legal experience also includes working in the corporate
department at the law firm of Cravath, Swaine & Moore.

RECENT EXPERIENCE

In private practice, Katherine has represented countless corporate and individual defendants and
plaintiffs, including:

   •    a major studio in a multimillion-dollar licensing dispute
   •    an American media executive and celebrity television personality in an FBI investigation
        of security threats
   •    Caithness, an independent power producer, in billion-dollar litigation concerning
        environmental issues, in partnership and contract disputes, and in antitrust investigations
   •    a high-net-worth individual in a securities fraud case against Citibank, first in the federal
        district court and later on appeal, redefining a “security” to include synthetic options
   •    Philip Morris USA against antitrust challenges to its Retail Leaders program, obtaining
        summary judgment where claimed damages exceeded $1 billion
   •    Auction participants in a price-fixing suit against Sotheby’s and Christie’s, which
        resulted in a $512 million settlement, described by the court as “the most outstanding
        result . . . in the history of the antitrust laws,” In re Auction Houses Antitrust Litig., 2001
        WL 170792, *6, (S.D.N.Y. Feb. 22, 2001)



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  •    Adelphia in connection with a major corporate scandal, related government investigations
       and settlements, and the prosecution of several complex litigations involving billion-
       dollar claims for, among other things, securities fraud, RICO, and accountant malpractice

EDUCATION

  •    Yale Law School, J.D.; Articles Editor, Yale Law Journal
  •    Cornell College of Arts & Science, B.A., Japanese, Government

GOVERNMENT SERVICE

  •    Trial Attorney, Civil Division, Federal Programs Branch, United States Department of
       Justice
  •    Assistant United States Attorney, United States Attorney's Office, Eastern District of
       New York

ADMISSIONS

  •    California
  •    New York
  •    U.S. District Court: Southern District of New York
  •    U.S. District Court: Eastern District of New York
  •    U.S. Court of Appeals: Second Circuit
  •    U.S. Court of Appeals: Fourth Circuit
  •    U.S. Court of Appeals: D.C. Circuit

CLERKSHIPS

  •    Honorable Paul V. Niemeyer, U.S. Court of Appeals for the Fourth Circuit




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 DEVIN “VELVEL” FREEDMAN
 Partner & Co-Chair

Velvel is a founding partner of RF and serves as one of the firm’s two Co-Chairs.

Vel is an experienced litigator known for finding creative solutions to complex problems. His
practice focuses on high-risk litigation that includes consumer class actions, international
disputes, and cryptocurrency/blockchain lawsuits. Vel’s clients value his responsiveness, creative
solutions, and ability to achieve successful outcomes while balancing the needs of running a
business.

Vel’s practice spans a diverse array of disputes across state, federal, and international trial and
appellate courts.

At the trial court level, Vel currently serves as lead counsel in five consumer class actions across
the country. He is also currently pursuing an over $10 billion cryptocurrency case on behalf of
the estate of David Kleiman and represented a consortium of growers, producers, and patients
who sued the State of Florida, and its agencies, for medical marijuana related issues. Vel also
represents the heirs of a Holocaust survivor seeking to recover a Camille Pissarro masterpiece
held by a Spanish-owned museum in one of the only Holocaust era cases to go to trial.

At the appellate level, Vel has successfully pursued numerous appeals in state and federal
appellate courts. This includes acting as lead counsel and making oral argument to win a matter
of first impression before the Eleventh Circuit Court of Appeals for the United States, along with
other wins before the Ninth Circuit, and Florida’s District Courts of Appeal. He recently filed a
petition for certiorari to the Supreme Court of the United States.

On the international side, Vel has successfully represented sovereigns and investors in global
disputes involving national court litigation, international arbitration, and strategic negotiations,
while managing public relations. He recently acted as strategic global counsel to successfully
prevent a foreign sovereign from illegally expropriating his client’s assets.

Vel is also active in the local legal community, where he serves on the Southern District of
Florida's Local Rules Committee. Before attending law school, Velvel was ordained as a rabbi.

RECENT EXPERIENCE

   •    Defending a charitable foundation against a campaign of complex probate and civil
        litigation
   •    Successfully defended clients against various State Attorney General and CFPB
        investigations
   •    Representing Phillip Morris USA in numerous actions around the State of Florida against
        claims for injuries allegedly caused by smoking cigarettes
   •    Leading the team that successfully defended a major e-commerce firm from a potentially
        detrimental government investigation



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  •    Coordinating the protection of sovereign assets from execution efforts in multiple
       international jurisdictions, including the Netherlands, Germany, Belgium, and Turkey
  •    Defending sovereign from a $2b ICSID arbitration claim relating to the alleged
       expropriation of a telecommunications company
  •    Representing the Estate of David Kleiman in an over 10+ billion dollar cryptocurrency
       claim
  •    Successfully representing plaintiffs in a shareholder dispute involving complex claims for
       breaches of fiduciary duties and related breaches of trust
  •    Litigating the constitutionality of Florida statutes limiting the amount and type of medical
       marijuana licenses available
  •    Litigating the Florida Department of Health’s failure to timely issue medical marijuana
       licenses
  •    Litigating and negotiating various issues raised among 3rd party e-commerce
       marketplace sellers, suppliers, and competitors

EDUCATION

  •    Columbia Law School, J.D.; James Kent Scholar; Staff Editor, Columbia Journal of Tax
       Law
  •    Yeshivah Gedolah Rabbinical College, B.A., Hebrew Letters (Rabbinical); Rabbinical
       Ordination (Smicha)

AWARDS & ASSOCIATIONS

  •    Recipient of the Daily Business Review’s 2019 Professional Excellence award as an
       attorney “On the Rise”
  •    Achieved highest score on Florida Bar examination, 3rd DCA, July 2012
  •    The Shul of Bal Harbour, Board of Directors
  •    Southern District of Florida's Local Rules Committee

PUBLICATIONS & PRESENTATIONS

  •    Speaker, Inside 'The Largest Bubble in Human History': The Alleged $1.4T
       Bitfinex/Tether Cryptocurrency Scam, OffshoreAlert Conference Europe (2019)
  •    Speaker, American Inns of Court (Spellman-Hoeveler Chapter), Bench & Bar
       Conference, Legal Technology: How Automation is Changing the Practice of Law (smart
       contracts) (March 2019)
  •    Speaker, Heightened Enforcement on Cryptocurrencies and Money Laundering: A 2018
       Perspective, The Knowledge Group (2018)
  •    Speaker, French Masterpiece, German Extortion, Spanish Adverse Possession, and the
       9th Circuit, Harvard Law School (2017), Touro University (2018)




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ADMISSIONS

  •    Bars
          o   U.S. Supreme Court
          o   Florida
          o   District of Columbia
          o   U.S. Court of Appeals: Eleventh Circuit
          o   U.S. Court of Appeals: Ninth Circuit
          o   U.S. District Court: Southern District of Florida
          o   U.S. District Court: Middle District of Florida
          o   U.S. District Court: Northern District of Florida

GOVERNMENT SERVICE

  •    Judicial Intern for the Hon. Nicholas Garaufis, Eastern District of New York




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 AMOS FRIEDLAND
 Partner

Amos is a founding partner of RF.

Amos’s practice focuses on complex litigation, including antitrust, class action, insurance
disputes, transnational, copyright and trademark, art, and fashion. For over a decade, he has
litigated numerous high-stakes actions for plaintiffs and defendants throughout the United States
and internationally, including at Boies Schiller Flexner and Quinn Emanuel.

Amos regularly provides counsel to clients to assist them in assessing litigation risk and
implications of sensitive business decisions, often under urgent time constraints. Amos has been
named a New York Metro Area Super Lawyers “Rising Star” every year from 2015-2018.

Amos was previously associated with Boies Schiller Flexner, Quinn Emanuel, and Wiggin and
Dana. Before attending law school, Amos completed a doctorate in philosophy and spent two
years teaching at McGill University. After law school, he helped design and teach two-week
intensive summer seminars for law students on the Holocaust and contemporary ethical issues
for lawyers.

RECENT EXPERIENCE

   •    Leading the representation of global reinsurance company PartnerRe in numerous legal
        and claims disputes (with a special focus on reps and warranties insurance disputes) in
        venues across the U.S., as well as providing the company regular general legal and
        business counsel
   •    Representing investors in craft whiskey company WhistlePig LLC in a company control
        dispute in Delaware Chancery Court
   •    Defending Yves Saint Laurent and Kering in a complex trademark-related dispute
        involving YSL’s rebranding
   •    Defending Barclays in numerous LIBOR-related cases and investigations
   •    Representing Fox Paine in protracted actions in Delaware, California, Texas, Illinois, and
        New York, in which one court noted the firm’s “shark-like persistence and tenacity in
        litigation”
   •    Representing Women’s World Cup soccer players in a gender discrimination case against
        FIFA and the Canadian Soccer Association over their decision to hold the 2015 Cup on
        artificial turf
   •    Representing appropriation artist Richard Prince in a seminal Fair Use copyright appeal
        to the Second Circuit Court of Appeals
   •    Representing commercial shippers in a price-fixing class action that was certified (but
        later reversed on appeal) against major railroads, egg purchasers in a price-fixing class
        action that was certified against egg producers, and direct purchasers of flexible
        polyurethane foam in a price-fixing class action that was certified
   •    Defending Yale University in a transnational dispute over ownership of van Gogh’s
        “Night Café” painting, and against the Republic of Peru over ownership of Machu Picchu
        artifacts


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EDUCATION

  •    Yale Law School, J.D.; Editor, Yale Law and Policy Review; Teaching Assistant for
       Torts
  •    McGill University, Post-Doctoral, Philosophy; Social Sciences and Humanities Research
       Council of Canada Post-Doctoral Research Fellow; Adjunct Professor of Philosophy
  •    New School for Social Research, Ph.D., Philosophy; Hans Jonas Award for Best
       Philosophy Dissertation of the Year
  •    McGill University, B.A., Honors, Philosophy; First Class Honors

ADMISSIONS

  •    New York
  •    Connecticut
  •    U.S. District Court: Connecticut
  •    U.S. District Court: Southern District of New York
  •    U.S. Court of Appeals: Ninth Circuit
  •    U.S. Court of Appeals: Second Circuit




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 NATHAN HOLCOMB
 Partner

Nate is a founding partner of RF.

Nate is an experienced litigator with a focus on the resolution of complex, high-stakes business
disputes through litigation in federal and state courts, arbitration and mediation. He counsels
clients in sectors ranging from financial services to alcoholic beverages to art in a wide variety of
matters, including disputes relating to commercial contracts, mergers and acquisitions, corporate
governance, intellectual property, securities, antitrust and executive compensation.

Nate is currently representing a leading financial services institution in a federal lawsuit against a
large mortgage originator arising from a failed merger, as well as counselling insurers
responding to claims under representation and warranties policies issued in connection with
merger and acquisition transactions. Nate recently represented an investor in a popular, celebrity-
endorsed moonshine whiskey brand in a dispute with the company’s founder and CEO; before
that he represented the same investor in a high-profile control dispute with the co-founder and
CEO of a rapidly growing ultra-premium rye whiskey brand. Nate was also a member of the trial
team that defended the former president of a leading art gallery in a jury trial of fraud claims
arising from the sale of a forged artwork previously believed to be by Mark Rothko, dubbed the
“The Art Trial of the Century” by ArtNews.

Nate represents pro bono clients as a member of the pro bono panel for the United States Court
of Appeals for the Ninth Circuit, the court on which he previously clerked. As court-appointed
counsel, he has represented clients including an asylum applicant and a plaintiff pursuing a civil
rights claim arising from a police stop.

RECENT EXPERIENCE

Nate’s current and recent engagements include representations of:

   •    A leading financial services institution in a federal lawsuit against a large mortgage
        originator arising from a failed merger
   •    An investor in a rapidly growing ultra-premium rye whiskey brand in a high-profile
        control dispute with the company’s co-founder and CEO
   •    An investor in a popular, celebrity-endorsed moonshine whiskey brand in a dispute with
        the company’s founder and CEO
   •    The former president of a prominent art gallery in a forgery case dubbed “The Art Trial
        of the Century” by ArtNews
   •    Insurers responding to claims under representations and warranties policies issued in
        connection with merger and acquisition transactions
   •    Plaintiffs in an antitrust class action addressing pricing and marketing of EpiPens
   •    A large retailer in a federal antitrust opt-out action based on price-fixing by producers of
        canned tuna




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  •    An international bank in litigation related to the collapse of a multi-billion dollar
       mortgage-backed commercial paper facility following a fraud by the transaction’s
       sponsor
  •    A leading real estate developer in multiple lawsuits involving a former business partner
  •    A major telecommunications company in multiple litigations, including cases against an
       international bank and against other major telecommunications companies
  •    A leading financial institution in a federal securities opt-out action seeking damages for
       admitted financial fraud
  •    A pharmaceutical company and its board members in a federal securities lawsuit and a
       related shareholder derivative action
  •    A provider of technological services for the legal profession in a contract dispute with a
       former provider of consulting services
  •    A prominent publisher defending intellectual property claims arising from a bestselling
       book satirizing a Hollywood celebrity
  •    Individual corporate executives in employment-related disputes

EDUCATION

  •    Harvard Law School, J.D., cum laude; Notes Chair, Harvard Law Review; Member of
       Winning Team, Ames Moot Court Competition
  •    Oxford University, D.Phil., Philosophy
  •    Harvard College, A.B., Philosophy

PUBLICATIONS & PRESENTATIONS

  •    Note, Original Meaning and Its Limits, 120 Harv. L. Rev. 1279 (2007)
  •    The Supreme Court, 2004 Term – Leading Cases, 119 Harv. L. Rev. 169, 366 (2005)
       (comment on Metro-Goldwyn-Mayer Studios, Inc. v. Grokster, Ltd., 545 U.S. 913 (2005))
  •    Recent Case, 118 Harv. L. Rev. 794 (2004) (comment on United States v. Johnson, 380
       F.3d 1013 (7th Cir. 2004))

ADMISSIONS

  •    New York
  •    U.S. District Court: Southern District of New York
  •    U.S. District Court: Eastern District of New York
  •    U.S. Court of Appeals: Second Circuit
  •    U.S. Court of Appeals: Ninth Circuit

CLERKSHIPS

  •    Hon. Pamela Ann Rymer, U.S. Court of Appeals: Ninth Circuit




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 EDWARD NORMAND
 Partner & Co-Chair

Ted is a founding partner of RF and serves as one of the Firm’s two Co-Chairs.

Ted has successfully and effectively litigated numerous complex and high-profile commercial
disputes. He has represented both plaintiffs and defendants in federal and state courts, at both the
trial and appellate levels, and in several arbitrations. The clients for whom Ted has provided such
valuable counsel and representation include Napster, Lloyd’s of London, Swiss Re, The SCO
Group, IDT, CRP/Extell, AIG, HSBC, Vanguard, ValueAct, Quadrant Capital Advisors, and
Partner Reinsurance. Ted also has represented many executives in disputes regarding severance
and compensation.

Before joining the firm, Ted served as a judicial law clerk for the Hon. Joseph M. McLaughlin in
the U.S. Second Circuit Court of Appeals and for the Hon. Marjorie O. Rendell in the U.S.
District Court for the Eastern District of Pennsylvania. He was the Editor in Chief of the
University of Pennsylvania Law Review and an assistant to the Special Master in New Jersey v.
New York, the dispute in the U.S. Supreme Court regarding state sovereignty over Ellis Island.

RECENT EXPERIENCE

   •    Serving as lead counsel for Quadrant Capital Advisors in litigation regarding the
        management and operations of WhistlePig, America’s premium rye whiskey company
   •    Serving as co-lead counsel for ValueAct in the federal government’s recent prosecution
        of claims under the Hart-Scott-Rodino Act regarding ValueAct’s acquisition of shares of
        Halliburton and Baker Hughes
   •    Serving as co-lead counsel for AIG in a pending litigation against the federal government
        regarding the propriety of foreign tax credits claimed in connection with a series of
        foreign borrowing transactions
   •    Serving as co-lead counsel for the SCO Group in litigation against IBM and Novell
        regarding the copyright ownership over and use of technology from the UNIX operating
        system in connection with the development of Linux
   •    Serving as the firm’s second trial counsel for Lloyd’s of London and other London
        insurers in the litigation concerning the insurance coverage arising out of the destruction
        of the World Trade Center
   •    Representing Napster in its landmark copyright dispute against the Recording Industry
        Association of America

EDUCATION

   •    University of Pennsylvania Law School, J.D.; Editor-in-Chief, University of
        Pennsylvania Law Review
   •    College of William & Mary, A.B., English; Phi Beta Kappa




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PUBLICATIONS & PRESENTATIONS

  •    The Hart-Scott-Rodino Act’s First Amendment Problem, Cornell Law Review (with Scott
       Gant and Andrew Michaelson) (2017)
  •    Damages of Deceit: A Case Study in the Making of American Common Law, Annual
       Survey of American Law, 71, 3 (2017)
  •    The Supreme Court, EPA and Chevron: The Uncertain Status of Deference to Agency
       Interpretations of Statutes, 25 Envtl. L. Rep. News & Analysis (Envtl. L. Inst.) 10,127
       (March 1995) (co-authored).

ADMISSIONS

  •    New York
  •    U.S. District Court: Southern District of New York
  •    U.S. District Court: Northern District of New York
  •    U.S. District Court: District of Colorado
  •    U.S. District Court: District of Utah
  •    U.S. Court of Appeals: Second Circuit
  •    U.S. Court of Appeals: Eighth Circuit
  •    U.S. Court of Appeals: Tenth Circuit
  •    U.S. District Court: Northern District of California
  •    U.S. District Court: District of Massachusetts

AWARDS AND ASSOCIATIONS

  •    American Bar Association
  •    New York City Bar Association

CLERKSHIPS

  •    Hon. Joseph M. McLaughlin, U.S. Court of Appeals: Second Circuit
  •    Hon. Marjorie O. Rendell, U.S. District Court: Eastern District of Pennsylvania




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 KYLE ROCHE
 Partner

Kyle is a founding partner of Roche Freedman.

Kyle is an experienced litigator known for leveraging his deep understanding of technology and
economics to successfully represent clients facing complex and novel issues of law. He has
represented both plaintiffs and defendants in federal and state courts, at both the trial and
appellate levels, and has consistently delivered impressive results.

Kyle has represented clients facing a wide variety of legal issues, including matters involving
cryptocurrency/blockchain based disputes, copyright and patent infringement, cybersecurity and
privacy claims, and merger and partnership disputes. His background in engineering and
management consulting enables him to build legal strategies that maximize his clients’
outcomes.

Kyle serves as strategic counsel to some of the most innovative companies and startups in the
cryptocurrency/blockchain space. His deep understanding of this technology and the governing
legislative frameworks enables him to advise his clients how to best navigate the regulatory
landscape. He has published multiple articles on the intersection of cryptocurrency and law, and
is a frequent speaker in that arena.

Prior to starting Roche Freedman, Kyle was an attorney at Boies Schiller Flexner LLP.

RECENT EXPERIENCE

   •    Appointed interim lead counsel in class action bringing CEA, antitrust, and RICO claims
        based on manipulation of the cryptocurrency market that resulted in one of the single
        largest asset bubbles in history.
   •    Representing estate of David Kleiman against self-described creator of Bitcoin in action
        to recover stolen bitcoins and blockchain-related intellectual property rights
   •    Member of trial team representing a pharmaceutical company in a patent dispute
        concerning the market-leading diabetes drug
   •    Lead attorney representing co-founder of social-networking company in partnership
        dispute, resulting in resolution acceptable to all parties
   •    Represented venture capitalist in dispute concerning the growth and development of a
        large decentralized blockchain
   •    Represented a medical device company in a putative consumer class action arising from
        allegations of counterfeit labeling and products liability
   •    Represented a group of stockholders in a merger dispute concerning a variety of
        contingent payments
   •    Represented Brazil-based investment and asset management entities in dispute with
        former employee seeking hundreds of millions of dollars in carried interest
   •    Represented investors in craft whiskey in a company control dispute in Delaware
        Chancery Court



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EDUCATION

  •    Northwestern University School of Law, J.D.; Associate Editor, Northwestern
       University Law Review; Arlyn Miner Book Award for Excellence in Legal Writing
  •    Purdue University, B.S., Chemical Engineering

PUBLICATIONS & PRESENTATIONS

  •    Why Bitcoin is Booming, Wall Street Journal, July 10, 2017 (co-authored with John O.
       McGinnis)
  •    Bitcoin: Order without Law in the Digital Age, 94 Indiana L.J. 1497 (2019)
  •    Guest lecturer, Northwestern Pritzker School of Law, Blockchain, Cryptocurrencies and
       Smart Contracts Seminar (2019)
  •    Speaker, Inside 'The Largest Bubble in Human History': The Alleged $1.4T
       Bitfinex/Tether Cryptocurrency Scam, OffshoreAlert Conference Europe, (2019)
  •    Speaker, Digital Asset Trading Platforms: Legal and Regulatory Considerations
       Explored!, The Knowledge Group (2018)
  •    Speaker, Heightened Enforcement on Cryptocurrencies and Money Laundering: A 2018
       Perspective, The Knowledge Group (2018)

ADMISSIONS

  •    New York
  •    U.S. District Court: Southern District of New York

AWARDS & ASSOCIATIONS

  •    Chick Evans Scholarship Recipient
  •    New York City Bar




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 ERIC ROSEN
 Partner

Eric Rosen is a nationally recognized former federal prosecutor whose practice focuses on white-
collar criminal defense, corporate investigations, and complex civil litigation. Eric was the lead
prosecutor in “Operation Varsity Blues,” the seminal case widely known as the college
admissions scandal, one of the largest white-collar crime prosecutions in United States history.

From May 2012 through October 2020, Eric was an Assistant United States Attorney in
Pittsburgh, Pennsylvania and Boston, Massachusetts. While serving as a federal prosecutor, Eric
prosecuted more than 250 defendants for a wide variety of federal crimes, including: wire and
mail fraud, securities fraud, investor fraud, bribery, health care fraud, drug misbranding, money
laundering, drug trafficking, racketeering, smuggling, and firearms offenses. Eric also tried, as
lead and co-counsel, numerous criminal cases before federal juries, both in Pittsburgh and
Boston.

In March 2018, Eric began the “Operation Varsity Blues” investigation that led, a year later, to
charges against approximately 50 individuals for fraud, bribery and money laundering offenses
related to the college admissions process. Eric’s work in the landmark prosecution, which
generated significant worldwide media attention, has been widely profiled by national and
international publications, including the Boston Globe, the New York Times, CNN, the
Washington Post, Los Angeles Times and USA Today. In addition, Eric’s role as the lead
prosecutor was chronicled in the July 2020 book “Unacceptable,” written by two Wall Street
Journal reporters.

RECENT EXPERIENCE

   •    Prosecution of individuals associated with an Internet-based “pharmacy” located in India
        for drug misbranding, smuggling, money laundering, obstruction of justice, and other
        crimes.
   •    Prosecution of individuals associated with the Switzerland-based Silverton asset
        management company. This prosecution, conducted in parallel with the Securities and
        Exchange Commission, was one of the largest microcap securities fraud cases ever
        prosecuted by the Department of Justice, and it resulted in the conviction of numerous
        individuals in the United States and abroad.
   •    Prosecution of individuals who embezzled millions of dollars from a Massachusetts-
        based services company.
   •    Prosecution of a New Jersey investment advisor for operating a securities fraud “cherry
        picking” scheme.
   •    Prosecution of multiple individuals for a bribery scheme related to proxy voting by
        institutional shareholders.
   •    Investigation of individuals for insider trading.




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EDUCATION

  •    Columbia Law School, J.D.
  •    School of Oriental and African Studies, LLM
  •    Harvard College, B.A. cum laude in Government

ADMISSIONS

  •    Massachusetts
  •    New York
  •    United States District Court for the District of Massachusetts
  •    United States District Court for the Southern District of New York
  •    United States District Court for the Western District of Pennsylvania

CLERKSHIP

  •    The Honorable Robert P. Patterson, Jr., Southern District of New York




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 WILLIAM DZURILLA
 Counsel

William Dzurilla has extensive experience in prosecuting and defending complex civil matters.
He represents clients in commercial cases, including securities, RICO, antitrust, banking,
construction, and insurance. He has tried and mediated cases in federal and state courts and has
served as an arbitrator and mediator. He also has handled several of the largest and most
complicated mergers, acquisitions and privatizations in the history of the Slovak Republic. His
work as a law clerk at all levels of the federal judiciary, including a year with Justice Byron
White at the U.S. Supreme Court, led to expertise in constitutional law and federal civil
procedure. Bill’s successful defense of a First Amendment challenge to the constitutionality of
seven federal, state, and local school aid programs culminated with a U.S. Supreme Court
decision overruling previous authority. His advocacy also led to a unanimous Louisiana Supreme
Court decision finding Louisiana's forum non conveniens statute contrary to the Supremacy
Clause of the U.S. Constitution, an appellate decision striking down Louisiana's Any Willing
Provider statute as preempted by ERISA, and a U.S. Fifth Circuit opinion overturning a criminal
mail fraud conviction on Double Jeopardy grounds. In 1990 Bill was an advisor to Boris Yeltsin
and the Russian Constitutional Commission in the drafting of Russia's first non-communist
constitution.

RECENT EXPERIENCE

   •    Successful defense of Barclays in a $12 billion claim arising from Barclays’ acquisition
        of the North American business of Lehman Brothers
   •    Representation of a family to recover a famous painting that was stolen by the Nazis from
        their grandparents and later acquired by a Spanish museum
   •    Representation of the families of 9/11 victims to recover damages from Iran and Iranian
        entities that assisted the terrorists
   •    Prosecution and defense of various matters for NextEra, including winning summary
        judgment on a contract for the purchase of Australian uranium
   •    Successful defense of a company accused of bribing a Chinese government official
   •    Serving as class counsel in a nationwide class action against an Amway/Quixtar pyramid
        scheme, which resulted in a $50 million settlement

EDUCATION

   •    Tulane University Law School, J.D.; summa cum laude, 1981
   •    University of Louisiana at Lafayette, B.A., magna cum laude, History, 1978

ADMISSIONS

   •    Florida

LANGUAGE SPOKEN

   •    Slovak


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CLERKSHIPS

  •    Associate Justice Byron R. White, United States Supreme Court, 1982-1983
  •    Hon. Albert Tate, United States Court of Appeals for the Fifth Circuit, 1981-82
  •    Hon. Edward Boyle, Sr., U.S. District Court, Eastern District of Louisiana, 1980-81




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 CONSTANTINE ECONOMIDES
 Counsel

Constantine has wide-ranging litigation experience, with expertise in securities litigation,
cannabis litigation, international litigation, and class actions. Over the past ten years, he has
represented litigants in some of the most notable fraud-based disputes in United States history.

As a former judicial clerk to Judge William P. Dimitrouleas of the United States District Court
for the Southern District of Florida, Constantine assisted the Judge in adjudicating over 100 civil
cases. Through that experience, Constantine developed a unique insight into the litigation
strategies and arguments that are most likely to persuade the ultimate decision-makers in
litigation.

Before joining RF, Constantine worked with large national firms in New York and Florida on
numerous matters involving securities litigation, international litigation, and class action
litigation. He represented the Securities Investor Protection Corporation as part of the team that
recovered over $11 billion on behalf of the victims of Bernard Madoff’s Ponzi scheme. He also
recovered funds on behalf of investors defrauded by failed blood-testing company Theranos, Inc.
and its infamous founder, Elizabeth Holmes. In total, Constantine has represented plaintiffs and
defendants in dozens of commercial, consumer, and securities disputes, including numerous class
actions. Additionally, Constantine recently became an arbitrator for Financial Industry
Regulatory Authority, Inc. (“FINRA”), and in recognition of his work with securities litigation
and class action litigation, he has been named a Rising Star by Super Lawyers Magazine for
2016, 2017, 2018, and 2019.

RECENT EXPERIENCE

   •    In re Securities Investor Protection Corporation v. Bernard L. Madoff Investment
        Securities, LLC, No. 11-02732 (Bankr. S.D.N.Y.) (participated in the recovery from
        international defendants of billions of dollars on behalf of investors defrauded by
        Madoff)
   •    Coleman v. Theranos, Inc., No. 16-cv-06822 (N.D. Cal.) (reached confidential settlement
        to recover funds on behalf of defrauded investors)
   •    Vaitkueviene v. Syneos Health Inc., No. 18-cv-00029 (E.D.N.C.) (ongoing securities
        fraud litigation on behalf of investors alleging violations of the Securities Exchange Act)
   •    Dahhan v. OvaScience, Inc., No. 1:17-cv-10511 (D. Mass.) (ongoing securities fraud
        litigation on behalf of investors alleging violations of the Securities Exchange Act,
        leading to class certification in May 2020)
   •    Gaynor v. Miller, No. 3:15-CV-545 (E.D. Tenn.) (ongoing securities fraud litigation on
        behalf of investors alleging violations of Securities Act, with report and recommendation
        for class certification, prior to ultimate remand to state court);
   •    Morgan v. Public Storage, No. 14-cv-21559 (S.D. Fla.) (obtained class certification and
        reached class settlement on behalf of consumers alleging violations of FDUTPA and
        breach of contract)
   •    In re ADT Inc. Shareholder Litigation, No. 50-2018-CA-003494 (15th Jud. Cir., Fla.)
        (reached class settlement on behalf of investors alleging violations of the Securities Act);


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  •    Tyrell v. Greenlane Holdings, Inc., No. 50-2019-CA-010026 (15th Jud. Cir., Fla.)
       (ongoing securities fraud litigation on behalf of investors alleging violations of the
       Securities Act)
  •    Macias v. Ocwen Loan Servicing LLC, No. 16-cv-2215 (S.D.N.Y.) (successfully
       represented Fortune 500 company in obtaining dismissal of causes of action relating to
       business practices);
  •    VAS Aero Services, LLC v. Volvo Aero Leasing, LLC, No. 4D15–3264 (Fla. 4th DCA)
       (successfully represented entity in obtaining recovery for replevin and damages in
       commercial dispute regarding aircraft equipment)

EDUCATION

  •    New York University School of Law, LL.M., International Legal Studies
  •    The Ohio State University Moritz College of Law, J.D.
  •    University of California, Santa Barbara, B.A.

PROFESSIONAL AFFILIATIONS

  •    Panel Member, Federal Magistrate Judge Merit Selection Panel, United States District
       Court for the Southern District of Florida
  •    Board Member, Broward Chapter Federal Bar Association
  •    Co-chair, Federal Judicial Clerk Committee of the Broward Chapter Federal Bar
       Association
  •    Executive Committee Member, New York State Bar Association International Section
  •    Co-chair, Florida Chapter of the New York State Bar Association International Section
  •    Member, Judiciary Law 470 Working Group for New York State bar Association

ADMISSIONS

  •    Florida
  •    New York
  •    U.S. Court of Appeals: Ninth Circuit
  •    U.S. District Court: Northern District of Florida
  •    U.S. District Court: Middle District of Florida
  •    U.S. District Court: Southern District of Florida
  •    U.S. District Court: Southern District of New York
  •    U.S. District Court: Eastern District of New York

CLERKSHIPS

  •    Hon. William P. Dimitrouleas, U.S. District Court: Southern District of Florida




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 IVY T. NGO
 Counsel

Ivy is an experienced complex civil litigator specializing in securities fraud, privacy and data
breach class actions. She is a creative and collaborative problem-solver with a proven track
record of recovering hundreds of millions of dollars on behalf of clients.

Before joining RF, Ivy successfully prosecuted numerous securities fraud class actions resulting
in hundreds of millions of dollars in recoveries for injured investors at a national complex
litigation firm. Those cases include In re Cardinal Health, Inc. Sec. Litig. ($600M recovery);
Jones v. Pfizer Inc. ($400M recovery); Fort Worth Employees’ Retirement Fund v. J.P. Morgan
Chase & Co., et al. ($388M recovery); In re HealthSouth Corp. Sec. Litig. ($209M recovery);
Silverman v. Motorola, Inc. ($200M recovery); In re MGM Mirage Securities Litigation ($75M
recovery); Massachusetts Bricklayers and Masons Trust Funds et al. v. Deutsche Alt-A Securities
Inc et al. ($32.5M recovery); City of Ann Arbor Employees’ Retirement System et al. v. Citigroup
Mortgage Loan Trust Inc. et al. ($25M recovery); In re Genworth Financial, Inc. Sec. Litig.
($20M recovery); and Shankar v. Imperva, Inc. ($19M recovery). Ms. Ngo was a member of the
team that certified classes in the following cases: Silverman v. Motorola, Inc., No. 07 C 4507,
259 F.R.D. 163 (N.D. Illinois 2009); Mary K. Jones v. Pfizer Inc., et al., Civil Action No. 1:10-
cv-03864-AKH, (S.D.N.Y. March 29, 2012); In re Genworth Financial, Inc. Securities
Litigation, Master File No. 1:14-cv-02392-AKH, Doc. 118 (S.D.N.Y. March 7, 2014); and Fort
Worth Employees’ Retirement Fund v. J.P. Morgan Chase & Co., No. 1:09-cv-0371-JPO, 301
F.R.D. 116 (S.D.N.Y. September 2014).

In recognition of her work in securities and class action litigation, Ivy was named a Rising Star
by Super Lawyers Magazine for 2015-2018 and a Super Lawyer for 2019.

RECENT EXPERIENCE

Ivy’s recent representations have included:

   •    In Re First American Financial Corporation Cases, Case Nos. 8:19-cv-01105, 8:19-cv-
        01180, 8:19-cv-01305, 8:19-cv-01533 (C.D. Cal.) (appointed co-lead counsel in currently
        ongoing data breach class action)
   •    Kipling v. Flex Ltd., et al., Case No. 18-CV-02706-LHK (N.D. Cal.) (previously
        appointed co-lead counsel in currently ongoing securities fraud class action)
   •    In re Edward D. Jones & Co., L.P. Securities Litigation, Case No. 18-cv-00714 JAM
        (E.D. Cal.) (previously appointed co-lead counsel in securities fraud class action
        currently on appeal)
   •    In re Google Plus Profile Litigation, Case No. 5:18-cv-05062 (N.D. Cal.) (previously
        appointed co-lead counsel in currently settled data breach class action)
   •    In re: Google Location History Litigation, Case No. 5:18-cv-05062 EJD (N.D. Cal.)
        (previously appointed interim class counsel in privacy class action currently on appeal)
   •    Adkins v. Facebook, Inc., Case No. C 18-05982 WHA (N.D. Cal.) (previously appointed
        to Investigation Committee in now settled data breach class action that was certified)



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  •    Lundy et. al. v. Facebook, Inc. et. al., Case No. 4:18-cv-06793 YGR (N.D. Cal.)
       (counsel for Plaintiff Watkins in ongoing privacy class action)

EDUCATION

  •    Rutgers University School of Law - Camden, J.D. (2006)
  •    University of California, Los Angeles, B.A. (2003)

ADMISSIONS

  •    California
  •    U.S. Court of Appeals: Ninth Circuit
  •    U.S. District Court: Northern District of California
  •    U.S. District Court: Central District of California
  •    U.S. District Court: Eastern District of California
  •    U.S. District Court: Southern District of California
  •    U.S. District Court: Colorado
  •    U.S. District Court: Maryland
  •    U.S. Patent and Trademark Office




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 RICHARD CIPOLLA
 Associate

Richard has represented numerous institutional and individual clients on a wide range of
complex civil litigation, regulatory enforcement, and white-collar defense matters. Leveraging a
background in technology and big data analytics, Richard seeks efficient and effective solutions
when representing his clients.

Richard was previously an attorney at Cleary Gottlieb Steen & Hamilton LLP.

RECENT EXPERIENCE

Richard’s representations include:

   •    Represented foreign financial institutions in defending multi-billion dollar clawback
        actions related to the bankruptcy of Bernard L. Madoff Investment Securities before
        federal bankruptcy, district, and appellate courts.
   •    Represented financial institutions in connection with domestic and foreign government
        investigations and related civil litigation involving financial benchmarks, including
        LIBOR and ISDAFIX.
   •    Achieved favorable settlement for a fashion label in licensing dispute with supplier.
   •    Argued before the Seventh Circuit Court of Appeals as part of Northwestern Pritzker
        School of Law’s Federal Appellate Clinic.
   •    Drafter of amicus brief to Supreme Court in Kokesh v SEC on behalf of organization
        representing the private investment industry.
   •    Conducted internal investigation on behalf of technology company facing an SEC
        inquiry, favorably resolving the matter without government action.
   •    Advised one of Canada’s largest software companies in connection with a data breach.
   •    Represented multi-national supplier in large multidistrict litigation and other proceedings
        arising from the “Dieselgate” scandal
   •    Defended freight forwarding company in antitrust class action suit.
   •    Advised registered investment advisor regarding remediation following SEC OCIE
        examination.
   •    Drafted brief for pro bono client’s criminal appeal in state court.

EDUCATION

   •    Northwestern University School of Law
        J.D. magna cum laude; Order of the Coif; Articles Editor, Northwestern Law Review
        2016
   •    Boston University
        B.A. in Economics, B.A. in Philosophy 2011




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ADMISSIONS

  •    New York
  •    Massachusetts

CLERKSHIPS

  •    Hon. Victor Marrero
       U.S. District Court: Southern District of New York




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 KELVIN GOODE
 Associate

Kelvin is an experienced litigator with a focus on a broad range of complex commercial
litigation, as well as copyright, music licensing and other IP disputes in state and federal courts
across the United States. Kelvin has counseled Fortune 500 companies in a wide variety of high-
stakes matters including disputes relating to commercial contracts, class-actions, antitrust
investigations, environmental contamination claims, and intellectual property. Kelvin has
extensive experience in managing discovery, drafting pleadings, dispositive motions, deposition
outlines, direct and cross examination outlines, and preparing witnesses for depositions and
trials.

Prior to matriculating to law school, Kelvin was a label executive at G-Unit Records, where he
strategized and executed music, film, and endorsement opportunities for Curtis “50 Cent”
Jackson and other artists on the label.

Kelvin was previously an attorney at Weil, Gotshal & Manges LLP.

RECENT EXPERIENCE

Kelvin’s representations include:

   •    Successfully represented a subscription based premium cable television network from a
        series of putative class actions in courts around the country arising out of the highest
        grossing pay-per view event in history
   •    Successfully represented a major tax preparation company opposing the consolidation of
        several class action disputes before the U.S. Panel on Multidistrict Litigation
   •    Represented a Fortune 100 company in connection with a complex commercial contract
        dispute involving simultaneous litigation in the Southern District of New York and the
        Middle District of Florida
   •    Represented a Fortune 100 company in connection with several water contamination
        environmental cases in the Eastern District of New York
   •    Represented a leading television broadcaster in an industry-wide multi-district antitrust
        putative class action litigation regarding broadcast television spot advertising, as well as
        the resolution of a related Department of Justice Antitrust Division investigation
        concerning the alleged exchange of competitively sensitive information
   •    Achieved a favorable settlement for a major cable network in connection with a high-
        profile programming dispute with cable operators concerning the implications of
        significant cable operator acquisitions and mergers
   •    Achieved a favorable settlement for a major commercial broadcast television and radio
        network in a putative class action in the Eastern District of Wisconsin asserting claims for
        violations of the Telephone Consumer Protection Act
   •    Achieved a favorable settlement for an online-radio service involving copyright
        infringement claims brought by one of the “big four” record labels.
   •    Advised a subscription based premium cable television network on its terms and
        conditions for its straight to consumer mobile application


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EDUCATION

  •    Northwestern University School of Law
       J.D. cum laude; 2016
  •    Pennsylvania College of Technology
       B.A., cum laude, Business Administration and Management

ADMISSIONS

  •    New York




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 JORDANA HAVIV
 Associate

Jordana is an experienced litigator with expertise in complex commercial, white collar,
employment and securities litigation; internal investigations; and international arbitration. She
has counseled and represented clients, on both the plaintiff and defense side, in sectors ranging
from financial services to media and entertainment to education in a wide variety of matters in
both federal and state court.

Prior to joining the Firm, Jordana was a litigator at Paul, Weiss, Rifkind, Wharton & Garrison
LLP.

RECENT EXPERIENCE

Jordana’s engagements include:

   •    Representing insurers responding to claims under representations and warranties policies
        issued in connection with merger and acquisition transactions.
   •    Represented Columbia University in a variety of Title IX matters, including obtaining
        dismissal of a lawsuit brought by a student alleging violation of Title IX and other claims
        arising out of alleged defamation and harassment of plaintiff by another student.
   •    Counsel for the National Football League in its landmark concussion litigation class
        action settlement and related cases.
   •    Counsel for global corporation in arbitration of contract dispute before the International
        Chamber of Commerce.
   •    Designed sexual harassment prevention training for senior corporate executives.
   •    Counsel and advise corporate clients regarding enforcement of non-compete, non-
        solicitation and non-disclosure agreements.
   •    Pro bono representation of death penalty client in habeas proceedings in Texas District
        Court and before the Fifth Circuit.
   •    Pro bono representation of transgender asylum client in appeals to the Board of
        Immigration Appeals and the Second Circuit.
   •    Successfully obtained asylum for pro bono client and her two minor children as a result
        of gang-related violence in Honduras.

EDUCATION

   •    New York University School of Law, J.D., cum laude
   •    Amherst College, B.A., cum laude in Law, Jurisprudence, and Social Thought




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ADMISSIONS

  •    New York
  •    U.S. Court of Appeals: Second Circuit
  •    U.S. Court of Appeals: Fifth Circuit
  •    U.S. District Court: Eastern District of New York
  •    U.S. District Court: Southern District of New York

CLERKSHIPS

  •    Hon. Victor Marrero
       U.S. District Court: Southern District of New York




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 STEPHEN LAGOS
 Associate

Stephen focuses on complex commercial litigation. He represents plaintiffs and defendants in
connection with a range of significant matters, including antitrust and qui tam actions, contract
disputes, and corporate governance disputes. Before becoming an attorney, Stephen was an
analyst at the Brattle Group, where he developed economic, financial, and mathematical models
used to support expert testimony in litigation and regulatory matters.

RECENT EXPERIENCE

Stephen’s recent experience includes:

   •    Representing junior creditors alleging that a Chapter 11 debtor engaged in a fraudulent
        transfer in the course of restructuring its senior debt
   •    Representing a putative class of consumers and insurers alleging, among other things,
        that a major drug company violated antitrust laws in the course of settling a patent
        dispute with a generic drug manufacturer
   •    Representing the estate of David Kleiman in an action to recover stolen bitcoins and
        blockchain-related intellectual property rights from the self-described creator of Bitcoin

EDUCATION

   •    Cornell Law School, J.D., magna cum laude; Order of the Coif; Articles Editor, Cornell
        Law Review; Harry G. Henn Prize in Corporations; CALI Awards in Contracts, Business
        Organizations, and Litigation Drafting; Myron Taylor Scholar
   •    Colorado College, B.A., Economics

ADMISSIONS

   •    New York




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 WARREN LI
 Associate

Warren brings to bear on his litigation practice his experience with an array of corporate
governance issues, transactions, including mergers and acquisitions, dispositions,
recapitalizations, and minority investments, and attendant issues arising under securities laws.
Often representing private equity sponsors and their portfolio companies, Warren has experience
with companies in the defense, healthcare and technology industries, both domestically and
internationally.

Warren was previously an attorney at Weil, Gotshal & Manges LLP.

RECENT EXPERIENCE

Warren’s engagements include:

   •    Representing insurers responding to claims under representations and warranties policies
        issued in connection with merger and acquisition transactions.

   •    Participated in federal class action challenging the constitutionality of the parole
        revocation process in Illinois that ultimately resulted in the Illinois Department of
        Corrections and Prisoner Review Board guaranteeing due process protections as part of
        Northwestern University School of Law’s Civil Rights Litigation Clinic.

EDUCATION

   •    Northwestern University School of Law, J.D., cum laude; Kirkland & Ellis Scholar in
        Constitutional Law
   •    Boston College, B.A., Economics

ADMISSIONS

   •    New York




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 ALEX POTTER
 Associate

Alex is a litigator with broad experience in high-stakes commercial litigation and arbitration at
both the trial and appellate levels.

Alex has litigated several cases worth hundreds of millions of dollars from inception through
trial before AAA and ICC tribunals and in federal and state courts, often involving complex
issues of foreign law. He has also assisted in briefing numerous cases before the U.S. Supreme
Court, both on behalf of parties and amici curiae.

Whether taking or defending depositions, appearing in court, or briefing novel issues of law,
Alex brings critical analysis and strategic perspective to a wide variety of substantive areas to
achieve results.

Prior to joining the Firm, Alex was a litigator at Boies Schiller Flexner LLP.

RECENT EXPERIENCE

   •    Member of the trial team representing plaintiffs for breach of a multi-billion dollar power
        purchase agreement before the ICC in Paris, including presenting expert testimony and
        briefing on issues of West African and Cayman Islands corporate and contract law.
   •    Member of the trial team representing a multinational pharmaceutical corporation on
        patent infringement claims to protect its flagship product in federal Hatch-Waxman
        litigation after defeating summary judgment on issues of German contract and patent
        licensing law.
   •    Principal drafter of an amicus brief before the U.S. Supreme Court at the intersection of
        family and constitutional law on behalf of more than a dozen women’s advocacy
        organizations, which was cited multiple times by Justice Gorsuch.
   •    Achieved dismissal of claims for breach of fiduciary duty in Delaware Chancery Court
        on behalf of the corporate directors of a multinational media corporation.
   •    Achieved settlement on behalf of plaintiffs for breach of contract arising from the
        acquisition of an NFL franchise.
   •    Member of the trial team representing a multinational pharmaceutical corporation in a
        AAA arbitration arising from the breach of a co-promotion agreement.
   •    Achieved settlement on behalf of the former CEO of an online dating website in a
        putative consumer class action arising from a cybersecurity breach.
   •    Successfully defended a multinational medical device corporation against counterfeit
        trafficking claims at the intersection of FDA regulation, product liability, and criminal
        law.
   •    Defeated a motion for contempt in post-judgment litigation arising out of a high net
        worth divorce.




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EDUCATION

  •    University of Pennsylvania Law School, J.D., cum laude; Senior Editor, University of
       Pennsylvania Law Review; Levy Scholar; Supreme Court Clinic
  •    Perelman School of Medicine at the University of Pennsylvania, Master of Bioethics
  •    Whitman College, B.A., magna cum laude, Politics; Phi Beta Kappa

ADMISSIONS

  •    New York

CLERKSHIPS

  •    Hon. Thomas N. O’Neill Jr., U.S. District Court: Eastern District of Pennsylvania




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 STEPHANIE SCUTTI
 Associate

Stephanie Scutti is an effective litigator whose practice focuses on complex commercial matters.
Stephanie represents both plaintiffs and defendants in state and federal courts, and has
experience in a wide range of areas, including intellectual property and trade secrets, securities
fraud, professional malpractice, contractual disputes, and class actions.

RECENT EXPERIENCE

   •    Member of eight-week trial defense team representing a major law firm in a malpractice
        suit brought by biotechnology company, culminating in favorable settlement to defendant
   •    Represented plaintiff-investor in securities fraud action against LED lighting company
   •    Represented class of plaintiffs in antitrust action against online contact lens seller
   •    Represented major corporation in misappropriation of trade secrets action against former
        employees
   •    Represented school district in action challenging Florida state constitutional amendment

EDUCATION

   •    Harvard Law School, J.D., cum laude; Symposium Editor, Harvard Negotiation Law
        Review
   •    University of Miami, B.S., summa cum laude, International Business Administration

ADMISSIONS

   •    New York
   •    Florida

CLERKSHIP

   •    Hon. William P. Dimitrouleas, U.S. District Court: Southern District of Florida




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 COLLEEN SMERYAGE
 Associate

Colleen is an experienced trial and appellate attorney whose practice focuses on complex
commercial litigation and arbitration. Colleen regularly obtains favorable outcomes for clients in
high stakes litigation involving commercial transactions, securities, international terrorism, trade
secrets, and insurance law. Her journalism background and written advocacy skills have enabled
her to successfully mount and defend appeals in state and federal courts across the United States.

Colleen has extensive courtroom experience, having served as trial counsel in several bench and
jury trials. Most recently, she served as trial counsel in a high profile four-week trial where she
examined numerous fact and expert witnesses and presented extensive oral argument. Prior to
this, Colleen served as trial counsel in a two-week federal jury trial that culminated in a complete
defense verdict in her client’s favor. She has also achieved favorable jury verdicts as plaintiff’s
counsel, including successful verdicts in a federal court action arising from a coordinated
cyberattack and a state court action premised on civil theft.

Prior to attending law school, Colleen worked in the oil and gas industry, spending significant time
in Houston, Texas and the Middle East.

RECENT EXPERIENCE

   •    Represented victims of international terrorism in collection efforts to satisfy $2.9 billion
        judgment obtained for clients, including extensive litigation over funds blocked pursuant
        to OFAC regulations
   •    Represented victims of U.S.S. Cole bombing against Republic of Sudan in federal and
        appellate courts, culminating in historic settlement of claims under the Terrorism Risk
        Insurance Act
   •    Represented high-profile client in complex probate and guardianship proceeding, including
        role as trial counsel in 19-day bench trial
   •    Represented Florida’s largest physician group against numerous insurers in complex
        dispute regarding reimbursement rates
   •    Represented credit card processor in cyberattack litigation, culminating in a successful jury
        verdict in federal court
   •    Represented bankruptcy trustees in pursuing significant insurance proceeds in action
        related to collapse of prominent Ponzi scheme
   •    Represented broker in fraud and unfair trade practices act case, including role as trial
        counsel in two-week federal jury trial
   •    Represented security and automation company in defending Lanham Act claims premised
        on alleged false advertising and unfair competition
   •    Represented Brendan Dassey, subject of Making a Murderer documentary, as member of
        Northwestern Pritzker School of Law’s wrongful convictions clinic




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EDUCATION

  •    Northwestern University School of Law, J.D. cum laude; Northwestern University
       Journal of International Law and Business
  •    Northwestern University, Medill School of Journalism, B.A. magna cum laude;
       Mortar Board Senior Honor Society; Kappa Tau Alpha Journalism Honor Society

ADMISSIONS

  •    Florida
  •    Illinois
  •    U.S. District Court, Southern District of Florida
  •    U.S. Court of Appeals, Eleventh Circuit




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 DANIEL STONE
 Associate

Dan is an experienced litigator with a focus on the resolution of complex, high-stakes business
disputes through litigation in federal and state courts, arbitration and mediation. He counsels
clients in sectors ranging from healthcare to financial services in a wide variety of matters,
including disputes relating to corporate governance, commercial contracts, and mergers and
acquisitions. Dan has extensive experience in drafting pleadings and dispositive motions,
preparing witnesses, taking and defending depositions, and managing discovery with a focus on
positioning clients to win at trial.

Prior to joining the Firm, Dan was a managing director of a litigation funder and a litigator at
Paul, Weiss, Rifkind, Wharton & Garrison LLP.

RECENT EXPERIENCE

   •    Successfully representing a leading private equity firm in a ten-day trial in Delaware
        Chancery Court responding to allegations that they had mismanaged a portfolio company
        to the detriment of the company’s common shareholder
   •    Representing an ad-hoc committee of bondholders in litigation arising from a sovereign
        default
   •    Representing young adults in New York State prisons in connection with a consent
        decree mandating that they be provided the education they are entitled to
   •    Counseling a private equity firm in connection with ex-employees’ violation of their non-
        competition agreements
   •    Representing a startup healthcare company in a contract dispute with their principal
        vendor
   •    Representing a company’s director in connection with allegations of misdeeds by the
        company’s former CEO
   •    Counseling a corporate investigator in connection with an SEC insider trading probe
   •    Evaluating and valuing numerous litigations, arbitrations, and adversary proceedings in
        connection with potential investments by a litigation funder

EDUCATION

   •    New York University Law School, J.D., magna cum laude; Order of the Coif; Allen
        Scholar; Development Editor, Annual Survey of American Law
   •    Yale University, B.A., History




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ADMISSIONS

  •    New York
  •    U.S. District Court: Eastern District of New York
  •    U.S. District Court: Southern District of New York

CLERKSHIP

  •    Hon. Janet C. Hall, U.S. District Court: Connecticut




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